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EXHIBIT D

CONFIRMATION HEARING NOTICE

46429/0001-7226026v1
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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al.,' Case No. 08-13141 (KJC)
Debtors. Jointly Administered

NOTICE OF (1) HEARING TO CONSIDER CONFIRMATION OF PLANS OF
REORGANIZATION FOR TRIBUNE COMPANY AND ITS SUBSIDIARIES AND (II) VOTING
AND OBJECTION DEADLINES RELATING TO THE PLANS

PLEASE TAKE NOTICE THAT four (4) plans of reorganization have been proposed for Tribune
Company and certain of its subsidiaries (collectively, the “Debtors”) in the above-captioned chapter 1]
cases, as follows:

* First Amended Joint Plan of Reorganization for Tribune Company and Its Subsidiaries
Proposed by the Debtors, the Official Committee of Unsecured Creditors, Oaktree
Capital Management, L.P., Angelo, Gordon & Co., L.P., and JPMorgan Chase Bank,
N.A. [D.I. 7050] (the “Debtor/Committee/Lender Plan”);

e Joint Plan of Reorganization for Tribune Company and Its Subsidiaries Proposed by
Aurelius Capital Management, LP, on Behalf of its Managed Entities, Deutsche Bank
Trust Company Americas, in its Capacity as Successor Indenture Trustee for Certain

' “The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification nurnber, are: Tribune Company
(0355), 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc, (8258); Califomia
Community News Corporation (5306), Candle Holdings Corporation (5626); Channel 20, Inc. (7399); Channel 39, Inc. (5256); Channel 40, Inc.
(3844), Chicago Avenue Construction Company (8634); Chicago River Production Company (5434); Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167), ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121), Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0219), ForSateByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940), Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416), Heart & Crown Advertising, Inc.
(9808), Homeowners Realty, Inc. (1507), Homestead Publishing Co. (4903), Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc,
(2663), Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company Il, LLC; KIAH Inc. (4014); KPLR, Inc.
(7943), KSWB Inc. (7035), KTLA Inc. (3404), KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
Intemational, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocomm, Inc. (7208); New Mass. Media, Inc. (9553); Newscom Services, Inc, (4817); Newspaper Readers Agency, Inc. (7335); North
Michigan Production Company (5466); North Orange Avenue Properties, Inc, (4056), Oak Brook Productions, Inc. (2598); Orlando Sentinel
Communications Company (3775); Patuxent Publishing Company (4223), Publishers Forest Products Co. of Washington (4750); Sentinel
Communications News Ventures, Inc. (2027), Shepard's Inc. (7931). Signs of Distinction, Inc. (3603); Southern Connecticut Newspapers, Inc.
(1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276); Sun-Sentinel Company (2684), The Baltimore Sun Company
(6880), The Daily Press, Inc. (9368), The Hartford Courant Company (3490); The Morning Call, Inc. (7560), The Other Company LLC (5337);
Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227); Times Mirror Services Company, Inc.
(1326); TMLH 2, Inc. (0720); TMLS L, Inc. (0719); TMS Entertainment Guides, Inc. (6325); Tower Distribution Company (9066); Towering T
Music Publishing Company (2470), Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569); Tribune Broadcasting
Holdco, LLC (2534); Tribune Broadcasting News Network, Inc., n/k/a Tribune Washington Bureau Inc. (1088), Tribune California Properties,
Inc. (1629), Tribune CNLBC, LLC, fk/a Chicago National League Ball Club, LLC (0347); Tribune Direct Marketing, Inc. (1479); Tribune
Entertainment Company (6232), Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service
Center, Inc. (7844), Tribune License, Inc. (1035); Tribune Los Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279);
Tribune Media Net, Inc. (7847}, Tribune Media Services, Inc. (1080), Tribune Network Holdings Company (9936); Tribune New York
Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939); Tribune Publishing Company (9720); Tribune Television Company (1634); Tribune
Television Holdings, Inc. (1630); Tribune Television New Orleans, Inc, (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc.
(9512), Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587); WATL, LLC (7384); WCCT, Inc., fk/a WTXX
Inc. (1268); WCWN LLC (5982), WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530); WLVI Inc. (8074); and
WPIX, Inc. (0191). The Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago,
INinois 60611.
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Series of Senior Notes, Law Debenture Trust Company of New York, in its Capacity as
Successor Indenture Trustee for Certain Series of Senior Notes and Wilmington Trust
Company, in its Capacity as Successor Indenture Trustee for the Phones Notes [D.1.
7073] (the ““Noteholder Plan”);

e First Amended Plan of Reorganization for Tribune Company and its Subsidiaries
’ Proposed by Certain Holders of Step One Senior Loan Claims [D.I. 7119] (the “Step One
Lender Plan”); and

e Amended Joint Plan of Reorganization for Tribune Company and Its Subsidiaries
Proposed by King Street Acquisition Company, L.L.C., King Street Capital, L.P. and
Marathon Asset Management, L.P. [D.1. 7089] (the “Bridge Lender Plan”).

These plans of reorganization are referred to in this Notice as the “Plans.” In connection with the
Plans, the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) has
approved (i) a General Disclosure Statement providing background information about the Debtors’
businesses, history, operations, and chapter 11 cases, and (ii) Specific Disclosure Statements relating to
each of the Plans, which provide information concerning those plans and their proposals to reorganize the
Debtors’ business and treat claims against the Debtors under chapter !1 of the title 11 of the United States
Code (the “Bankruptcy Code”). The General Disclosure Statement and the Specific Disclosure
Statements were approved by the Bankruptcy Court as part of the order governing the solicitation of votes
on the Plans dated December 9, 2010 (the “Solicitation Order”), a copy of which is included as part of the
package containing this Notice (the “Solicitation Package”).

If you are entitled to vote on some or all of the Plans, the General Disclosure Statement and the
Specific Disclosure Statements are included (on CD-ROM) together with their exhibits as part of the
Solicitation Package. In addition, the proponents of each of the Plans have prepared Responsive
Statements that are included in hard copy as part of this Solicitation Package. The Responsive Statements
describe the proponents’ views on the other Plans.

Capitalized terms not otherwise defined in this Notice have the meanings given to them in the
Solicitation Order.

PLEASE TAKE FURTHER NOTICE THAT:

1. A hearing (the “Confirmation Hearing”) will be held beginning on March 7, 2011 at
10:00 a.m. Eastern Time before the Honorable Kevin J. Carey, Chief United States Bankruptcy Judge, at
the United States Bankruptcy Court for the District of Delaware, 824 Market Street, Fifth Floor,
Courtroom No. 5, Wilmington, Delaware 19801, to consider confirmation of the Plans. The Confirmation
Hearing may be continued from time to time without further notice to creditors or other parties in interest,
and the Plans may be modified, if necessary, in accordance with the Bankruptcy Code, the Federal Rules
of Bankruptcy Procedure, and other applicable law, before, during, or as a result of the Confirmation
Hearing, without further notice to creditors or other parties in interest.

2. This Notice was approved by the Bankruptcy Court pursuant to the Solicitation Order in
order to provide interested parties, such as Holders of Claims against and Interests in the Debtors, with
information concerning the process by which votes to accept or reject the Plans will be solicited, and to
provide parties with the date and time of the Confirmation Hearing and related deadlines and important
dates.

Voting on the Plan

3, If you hold a Claim against one of the Debtors as of December 6, 2010 (the “Record
Date”), and you are entitled to vote on one or more of the Plans, you have been sent as part of the
Solicitation Package a separate, color-coded Ballot for each of the Plans on which you are entitled to vote.
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Ballots and accompanying instructions relating to the Debtor/Committee/Lender Plan are blue. Ballots
and accompanying instructions relating to the Noteholder Plan are purple. Ballots and accompanying
instructions relating to the Step One Lender Plan are yellow. Ballots and accompanying instructions
relating to the Bridge Lender Plan are green.

4, Your vote on each of the Plans is very important and may affect your rights and the
treatment of any Claim you hold against any of the Debtors. As a result, you should consider each of the
Plans carefully in deciding how to vote to accept or reject each of the Plans.

5, If you are entitled to vote to accept or reject one or more of the Plans based on your
Claim, for your vote to accept or reject any of the Plans to be counted, you must complete all required
information on each Ballot included in your Solicitation Package, execute each Ballot, and return each
completed Ballot to the address indicated on the Ballot so as to be received by Epiq Bankruptcy
Solutions, LLC (the “Voting Agent”), at the address for the Voting Agent specified in the Ballot, no later
than 4:00 p.m. Eastern Time on January 28, 2011 (the “Voting Deadline”), Any failure to follow the
voting instructions included with the Ballot(s) may disqualify your Ballot(s), your vote(s) and any
election(s) and rankings you make on your Ballot.

6. If you are a beneficial owner of a Claim who receives a Ballot from a Voting Nominee, in
order for your vote to be counted, your Ballot must be completed in accordance with your voting
instructions on the ballot and received by the Voting Nominee in enough time for the Voting Nominee to
transmit a master ballot to the Voting Agent so that it is received no later than the Voting Deadline.

7, If you have lost your Ballot, or it arrived in damaged condition or was not properly
received, you may request a form of Ballot and voting instructions appropriate for your Claim from the
Voting Agent by e-mail at tabulation@epigsystems.com. All submitted Ballots will be tabulated
according to the rules set forth in the Solicitation Order.

8. If you wish to have your Claim allowed for purposes of voting on one or more of the
Plans in a manner that is inconsistent with the amount or classification set forth on the Ballot(s) you
received, or if you did not receive a Ballot and wish to have your Claim temporarily allowed for voting
purposes only, you must serve on the proponents of each Plan and file with the Bankruptcy Court, on or
before January 8, 2011, a motion for an order pursuant to Bankruptcy Rule 3018(a) temporarily allowing
such Claim for purposes of voting (a “3018 Motion”). A 3018 Motion must set forth with particularity
the amount and classification in which you believe your Claim should be allowed for voting purposes,
and the evidence in support of your belief. If you file a 3018 Motion by the deadline above, your Ballot
will be counted (a) in the amount established by the Bankruptcy Court in an order entered on or before the
Voting Deadline or (b) if such an order has not been entered by the Voting Deadline, and unless the
proponents of the applicable Plans and you have come to an agreement as to the relief requested in the
3018 Motion, in an amount equal to the preprinted amount on the Ballot or in accordance with the
tabulation rules (or, in the event you did not receive a Ballot, you shall not have a Ballot counted at all).
January 20, 2011, at 10:00 a.m. (Eastern Time) has been established as the date and time for a hearing
to consider any and all 3018 Motions.

Objections to Confirmation of the Plan

9. Objections, if any, to confirmation of the Plans must: (a) be in writing; (b) state the name
and address of the objecting party and the nature of the claim or interest of such party; (c) state with
particularity the legal and factual basis and nature of any objection to the Plans; and (d) be filed with the
United States Bankruptcy Court for the District of Delaware, 824 North Market Street, Third Floor,
Wilmington, Delaware 19801 together with proof of service, and served so as to be RECEIVED on or
before 4:00 p.m. Eastern Time on February 15, 2011 by the proponents of each of the Plans to which
such party objects. Objections may be served on the proponents of the Plans at the notice addresses

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provided in each of the Plans. Objections not timely filed and served in this manner shall not be
considered and shall be deemed overruled.

Media Ownership Certifications

10. If you believe that you are or may be eligible to receive five percent (5%) or more of the
New Common Stock in Reorganized Tribune under any of the Plans at emergence for any reason
(including, without limitation, as a result of the distribution of New Warrants or the distribution of New
Class B Common Stock in lieu of New Class A Common Stock), you are required pursuant to the
Solicitation Order to contact the Debtors and to complete, execute and submit to the Debtors a Media
Ownership Certification on or prior to January 16, 2011(the “Certification Deadline”), In the event
you do not submit a completed and executed Media Ownership Certification to the Debtors by the
Certification Deadline, you may, in the event you would ultimately be entitled under any of the Plans to
receive 5% or more of the New Class A Common Stock in Reorganized Tribune at emergence but for
your failure to submit an executed Media Ownership Certification by the Certification Deadline, receive
New Class B Common Stock in lieu of New Class A Common Stock to the extent deemed appropriate by
Reorganized Tribune to ensure compliance with the Communications Act or the rules of the Federal
Communications Commission (the “FCC”) and/or to avoid a substantial delay in obtaining approvals
from the FCC. Please review the General Disclosure Statement and each of the Specific Disclosure
Statements with respect to each Plan for additional information regarding the Media Ownership
Certifications and the Debtors’ applications to the FCC.

Additional Information About the Plans

11, The General Disclosure Statement, each of the Plans, the Specific Disclosure Statements
related thereto, the Responsive Statements, and the Solicitation Order are on file with the Clerk of the
Bankruptcy Court, Third Floor, 824 Market Street, Wilmington, Delaware 19801 and may be examined
by parties in interest by visiting the Office of the Clerk of the Bankruptcy Court during business hours. In
addition, any party in interest wishing to obtain copies of the General Disclosure Statement, the Plans, the
Specific Disclosure Statements related thereto, the Responsive Statements, the Solicitation Order, or other
information about the solicitation procedures may request such information by contacting the Voting
Agent (i) by first-class mail addressed to: Tribune Company Ballot Processing Center, c/o Epiq
Bankruptcy Solutions, LLC, FDR Station, PO Box 5014, New York, NY 10150-5014; (ii) by personal
delivery or overnight courier to: Tribune Company Ballot Processing Center, c/o Epiq Bankruptcy
Solutions, LLC, 757 Third Avenue, Third Floor, New York, NY 10017; or (iii) by telephoning the Voting
Agent at (888) 287-7568. Copies of the General Disclosure Statement, the Specific Disclosure
Statements, the Plans, the Responsive Statements, and the Solicitation Order are also available on the

Internet free of charge at http://chapter | 1 epiqsystems.com/tribune.

12. Each of the Plans contains various injunctions and releases, with some of the Plans
including certain releases that will be granted by Holders of Claims and Interests unless such
Holders vote to accept such Plan and opt out of such releases or vote to reject such Plan and decide
not to grant such releases, or exercise another opt out mechanism as may have been approved by
the Court. The release and injunction provisions are set forth in the relevant Plans, and you are
encouraged to read those provisions carefully in connection with any vote you may cast to accept or
reject the Plans,

Prepackaged Plans

13. Each of the Plans also constitutes a Prepackaged Plan of Reorganization (the
‘Prepackaged Plan’’) for any affiliates of Tribune Company that may commence a chapter 11 case prior to
the date of the Confirmation Hearing. Those affiliates include, without limitation, the following entities
that have executed guarantees of certain indebtedness of Tribune Company but have not yet commenced
chapter 11 cases: (i) Tribune National Marketing Company, (ii) Tribune ND, Inc., (iii) Tribune

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Interactive, Inc., and (iv) Tribune (FN) Cable Ventures, Inc (the “Guarantor Non-Debtors”), In the event
any of such affiliates commences a chapter 11 case, additional notice and information will be provided to
any parties holding claims against the relevant affiliates.

Dated: December 9, 2010

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